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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NORTH DAKOTA

 DOUGLAS ISAACSON,

       Plaintiff,

 v.                                                            No. 3:21-cv-00057-ARS

 NOVARTIS PHARMACEUTICALS
 CORPORATION,

       Defendant.


                              PLAINTIFF’S MOTION TO STAY

       COMES NOW, Plaintiff Douglas Isaacson, and for his motion to stay, states as follows:

       1.      Plaintiff respectfully moves this Court to stay all discovery and other proceedings

pending the resolution of the motion to transfer under 28 U.S.C. § 1407 by the Judicial Panel on

Multidistrict Litigation (“JPML”). The motion under section 1407, which has been called for

hearing July 29, 2021, if granted, will result in the transfer and coordination of 19 similar federal

Tasigna products liability cases currently pending in 12 federal districts.

       2.      Plaintiff believes there is a high probability that the motion to transfer will be

granted, especially given that over 160 similar Tasigna products liability cases pending in New

Jersey state court were recently transferred and consolidated before a single judge in New Jersey

under the state’s multi-county litigation (“MCL”) rules. This New Jersey MCL consolidation,

together with the requested federal consolidation, creates a unique opportunity for a coordination

of the global Tasigna products liability litigation, which will create many efficiencies that will

greatly benefit all courts and parties involved, as well as eliminate the potential for conflicting

rulings in different courts on the same issues.
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       3.      The interests of judicial economy strongly favor a stay of these proceedings

pending resolution of the motion to transfer. The collective plaintiffs in all pending Tasigna

products liability cases are at an impasse with Defendant Novartis Pharmaceuticals Corporation

(“Novartis”) regarding Novartis’s production of what will likely be millions of corporate

documents and, absent a stay, would be forced to seek court intervention immediately. If the

motion to transfer is granted, one federal judge will rule on these production issues, hopefully in

coordination with the New Jersey MCL judge.

       4.      Absent a stay, Plaintiff will be forced to file a complicated motion to compel in this

case, simultaneous with similar motions to compel filed by other Tasigna plaintiffs in other federal

courts. This will require significant judicial resources across multiple courts and will undoubtedly

lead to inconsistent rulings. Only a stay can avoid this potential waste of resources and the short

delay contemplated—of less than 60 days—will result in no prejudice to Novartis.

       5.      Plaintiff’s counsel has met and conferred with Novartis’s counsel to seek agreement

on a stay, but they have indicated that Novartis will oppose any efforts to stay the case.

       6.      In further support of this motion, Plaintiff incorporates its supporting Memorandum

of Law and the Declaration of Raymond C. Silverman filed simultaneously herewith.

       WHEREFORE, Plaintiff requests this Court issue an order staying all proceedings pending

the resolution of the motion to transfer under section 1407 and for any other relief the Court deems

just and proper.
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Dated: June 22, 2021                     Respectfully submitted,

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